       Case 5:17-cv-00746-FB-HJB Document 10 Filed 01/12/18 Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

 JUDITH ROGERS                                 §
 Plaintiff,                                    §
                                               §
 vs.                                           §   CIVIL ACTION NO.
                                               §   5:17-CV-00746-FB
 WELLS FARGO BANK, N.A.,                       §
 Defendant.                                    §

                                  JOINT ADR REPORT

       As required by the Court’s Scheduling Order and Local Rule CV-88, Plaintiff

Judith Rogers and Defendant Wells Fargo Bank, N.A., submit this Joint ADR Report.

       1.     Status of Settlement Negotiations.     As of the date of this Joint ADR

Report, Plaintiff and Defendant (collectively the “Parties”) have had preliminary

settlement discussions, and will continue such discussions.

       2.     Persons Responsible for Settlement Negotiations. The persons primarily

responsible for settlement negotiations are:

       For Plaintiff: Charles Riley

       For Defendant: David Crooks

       3.     Appropriateness of This Case for ADR.       Counsel for the Parties have

made their clients aware of the ADR procedures available in this District. The Parties

believe that formal ADR methods will likely be appropriate at some point in the future of

this case.   The Parties propose that mediation should take place on a mutually

convenient date following the further exchange of written discovery and possibly

depositions in this case.    The Parties anticipate that they will be able to select a

mutually agreeable person as the mediator.
Case 5:17-cv-00746-FB-HJB Document 10 Filed 01/12/18 Page 2 of 2



                             Respectfully submitted,

                             RILEY & RILEY
                             ATTORNEYS AT LAW


                             By: /s/ Charles Riley
                                CHARLES RILEY
                                State Bar No. 24039138
                                320 Lexington Avenue.
                                San Antonio, Texas 78215
                                (210) 225-7236 Telephone
                                (210) 227-7907 Facsimile
                                Attorney for Plaintiff



                             FOX ROTHSCHILD LLP


                             By:     /s/ David Crooks
                                   David Crooks
                                   State Bar No. 24028168
                                   Two Lincoln Centre
                                   5420 Lyndon B. Johnson Fwy, Suite 120
                                   Dallas, Texas 75240
                                   (972) 991-0889
                                   (972) 404-0516 fax
                                   dcrooks@foxrothschild.com




                               2
